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DMP:ICR/JEA
F. #2020R00508

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X

UNITED STATES OF AMERICA                                 SUPERSEDING
                                                         INFORMATION
       - against -
                                                         Cr. No. 20-203 (S-1) (BMC)
COLINFORD MATTIS and                                     (T. 18, U.S.C., §§ 371, 844(c)(1),
UROOJ RAHMAN,                                             924(d)(1), 982(a)(2)(B), 982(b)(1) and
                                                          3551 et seq.; T. 21, U.S.C., § 853(p); T.
                         Defendants.                      26, U.S.C., § 5872(a); T. 28, U.S.C.,
                                                          § 2461(c))
---------------------------X

THE UNITED STATES ATTORNEY CHARGES:

                     CONSPIRACY TO COMMIT ARSON
      AND TO MAKE AND POSSESS AN UNREGISTERED DESTRUCTIVE DEVICE

               1.     On or about and between May 29, 2020 and May 30, 2020, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants COLINFORD MATTIS and UROOJ RAHMAN, together with others, did knowingly

and willfully conspire to (a) maliciously damage and destroy, by means of fire and an explosive,

a vehicle and other real and personal property used in interstate and foreign commerce and in an

activity affecting interstate and foreign commerce, to wit: one or more New York City Police

Department (“NYPD”) vehicles, contrary to Title 18, United States Code, Section 844(i); and (b)

knowingly receive, possess and make a firearm, to wit: an incendiary device, which is a

destructive device, as defined pursuant to Title 26, United States Code, Sections 5845(a)(8),

5845(f)(1) and 5845(f)(3), and which was not registered to them in the National Firearms

Registration and Transfer Record, contrary to Title 26, United States Code, Sections 5861(d) and

5861(f).
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                                                                                                    2

               2.        In furtherance of the conspiracy and to effect its objects, within the

Eastern District of New York and elsewhere, the defendants COLINFORD MATTIS and

UROOJ RAHMAN, together with others, did commit and cause the commission of, among

others, the following:

                                            OVERT ACTS

                         (a)     On or about May 29, 2020, in Brooklyn, New York, MATTIS,

RAHMAN and other individuals whose identities are known to the United States Attorney used

an Internet-based messaging service to discuss, among other things, setting fire to one or more

NYPD vehicles;

                         (b)     On or about May 29, 2020 and May 30, 2020, in Brooklyn, New

York, MATTIS and RAHMAN purchased gasoline, beer bottles and toilet paper, and used those

materials to make Molotov cocktail improvised incendiary devices;

                         (c)     On or about May 30, 2020, MATTIS drove his van carrying

RAHMAN and two Molotov cocktail improvised incendiary devices to the NYPD’s 88th

Precinct Stationhouse in Fort Greene, Brooklyn; and

                         (d)     On or about May 30, 2020, RAHMAN took one Molotov cocktail

improvised incendiary device from MATTIS’s van, ignited the Molotov cocktail, and threw it

into a damaged NYPD sedan that was parked outside of the NYPD’s 88th Precinct Stationhouse

in Fort Greene, Brooklyn.

               (Title 18, United States Code, Sections 371 and 3551 et seq.)

                               CRIMINAL FORFEITURE ALLEGATION

               3.        The United States hereby gives notice to the defendants that, upon their

conviction of the offense charged herein, the government will seek forfeiture in accordance with:
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                                                                                                    3

(a) Title 18, United States Code, Section 844(c)(1), which requires the forfeiture of any

explosive materials involved or used or intended to be used in the offense; (b) Title 26, United

States Code, Section 5872(a) and Title 28, United States Code, Section 2461(c), which require

the forfeiture of any firearm involved in any violation of Title 26, United States Code, Section

5861(d); (c) Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code,

Section 2461(c), which require the forfeiture of any firearm or ammunition involved in or used in

any violation of any criminal law of the United States; and/or (d) Title 18, United States Code,

Section 982(a)(2)(B), which requires the forfeiture of property constituting, or derived from,

proceeds obtained directly or indirectly as a result of such offense.

               4.      If any of the above-described forfeitable property, as a result of any act or

omission of the defendants:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

without difficulty;
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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), and

Title 18, United States Code, Section 982(b)(1), to seek forfeiture of any other property of the

defendants up to the value of the forfeitable property described in this forfeiture allegation.

               (Title 18, United States Code, Sections 844(c)(1), 924(d)(1), 982(a)(2)(B) and

982(b)(1); Title 21, United States Code, Section 853(p); Title 26, United States Code, Section

5872(a); Title 28, United States Code, Section 2461(c))




                                                     __________________________________
                                                     _________________________
                                                     BREON PEACE
                                                     UNITED STATES ATTORNEY
                                                                     ATTORNE
                                                     EASTERN DISTRICT OF NEW YORK
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FORM DBD-34             No. 20-CR-203 (S-1) (BMC)
JUN. 85


                                UNITED STATES DISTRICT COURT
                                              EASTERN District of NEW YORK
                                                        CRIMINAL DIVISION

                                      THE UNITED STATES OF AMERICA
                                                                          vs.

                                        COLINFORD MATTIS and UROOJ RAHMAN,
                                                                                          Defendants.

                                     SUPERSEDING INFORMATION
                         (T. 18, U.S.C., §§ 371, 844(c)(1), 924(d)(1), 982(a)(2)(B), 982(b)(1)
                         and 3551 et seq.; T. 21, U.S.C., § 853(p); T. 26, U.S.C., § 5872(a); T.
                                                 28, U.S.C., § 2461(c))

                              A true bill.

                         ________________________________________
                                                                                            Foreperson


                        Filed in open court this _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ day,

                        of _ _ _ _ _ _ _ _ _ _ _ _ A.D. 20 _ _ _ _ _

                         _______________________________________
                                                                                                 Clerk


                        Bail, $ _ _ _ _ _ _ _ _ _ _ _
                               _________________________________

                           Ian C. Richardson and Jonathan E. Algor, Assistant U.S. Attorneys
                                                   (718) 254-7000
